






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00264-CR






James Ray Ross, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT

NO. 08-209-K277, HONORABLE KEN ANDERSON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant James Ray Ross was convicted of sexual assault of a child and
sexual&nbsp;assault, enhanced by a prior conviction for indecency with a child, and was sentenced to life
in prison.  Appellant's appointed attorney has filed a brief concluding that the appeal is frivolous and
without merit.  

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738, 743-44
(1967), by presenting a professional evaluation of the record and demonstrating that there are no
arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S. at
743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim. App. 1969). 
Appellant's attorney sent appellant a copy of the brief and advised him that he had the right to
examine the record and file a pro se brief.  See Anders, 386 U.S. at 744; Jackson v. State,
485&nbsp;S.W.2d 553, 553 (Tex. Crim. App. 1972).  No pro se brief has been filed.

	We have considered the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We have reviewed the evidence presented to the jury and the
procedures that were observed and find nothing in the record that might arguably support the appeal. 
We grant counsel's motion to withdraw and affirm the judgment of conviction. (1) 



					___________________________________________

					David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Affirmed

Filed:   January 15, 2009

Do Not Publish
1.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
his case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The
petition must be filed with this Court, after which it will be forwarded to the court of criminal
appeals along with the rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition
for discretionary review should comply with rules 68.4 and 68.5 of the rules of appellate procedure. 
See Tex. R. App. P. 68.4, 68.5. 


